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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 ROBERT UPDEGROVE et al.,                      )
                                               )
               Plaintiffs,                     )
                                               )
        v.                                     )    Civil Action No. 1:20-cv-01141-CMH-JFA
                                               )
 MARK R. HERRING et al.,                       )
                                               )
               Defendants.                     )


                           [PROPOSED]
  ORDER GRANTING JOINT MOTION TO SET COMBINED BRIEFING SCHEDULE
                    AND CONSOLIDATED HEARING

       The matter came before the Court on the parties’ Joint Motion to Set Combined Briefing
 Schedule and Consolidated Hearing. On consideration of the parties’ submissions, the parties’
 agreement, and good cause shown:

        It is hereby ORDERED that the Motion is GRANTED;

        It is hereby ORDERED that Defendants’ deadline to respond to Plaintiffs’ Motion for
 Preliminary Injunction (Dkt. 2) and to respond to the Complaint shall be Monday, November 16,
 2020;

       It is hereby ORDERED that Plaintiffs’ deadline to submit a Reply in support of their
 Motion for a Preliminary Injunction and a response to Defendants’ Motion to Dismiss shall be
 Monday, December 14, 2020;

       It is hereby ORDERED that Defendants’ deadline to submit a Reply in support of their
 Motion to Dismiss shall be Wednesday, December 23, 2020;

        It is hereby ORDERED that a combined hearing on both Plaintiffs’ Motion for
 Preliminary Injunction and Defendants’ forthcoming Motion to Dismiss shall be held on Friday,
 January 15, 2021, at 10:00 a.m.




 Date: _______________________                      ____________________________________
